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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                  Bridgeport Division

INRE:
RONALD E. MASSIE                                Civil Action NO. 3 :20-cv-00740-VAB
                                                Case No.19-51593 (JAM)
  Debtor                                        Chapter 13

Plaintiff
RONALD E.MASSIE                    Adv. Proc. No. 20-05012
V.
WELLS FARGO BANK, NATIONAL ASSOCIATION
Defendant

Roberta Napolitano, TRUSTEE                     January 11, 2021



                                         APPEARANCES
  .       '
Sara M. Buchanan, Esq.                                 Attorney for Wells Fargo Bank, NA
Bendett & McHugh, P.C.                                 Defendant/AppelleeP
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Farmington, CT 06032
                                                             .-
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David Bizar, Esq
SAYFARTH SHAW LLP
Seaport East
Two Seaport Lane, Suite 300
Boston, MA 02210-2028

Ronald E. Massie                                Pro se Debtor I Appellant



                          MOTION FOR EXTENSION OF TIME

NOTICE IS HEREBY GIVEN that Ronald E. Massie ["Massie"] as a Pro Se Debtor/Appellant
   hereby requests to the United States District Court for the District of Connecticut an


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EXTENSION OF TIME OF 30 DAYS until February 10, 2021 within which to answer and
object to WELLS FARGO BANK, NATIONAL ASSOCIATION, MOTION TO DISMISS
APPEAL.

The Debtor/ Appellant, Ronald E. Massie, apprises this honorable District Court that this
enlargement of time is necessary and for good cause, since he will be on an extensive business
trip out of the Continental United States.




                                            THE PRO SE DEBTOR/APPELLANT

                                            Respectfully Submitted




                                            BY~    ,
                                            Ronald E. Massie

                                            451 Mansfield Avenue

                                            Darien, CT 06820




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                                 CERTIFICATION OF SERVICE

           I hereby certify that a true copy of the foregoing was served via this Court's ECF e-
mail system and or by U.S. mail, this 11th day of January, 2021, upon the following:


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Roberta Napolitano
Chapter 13 Standing Trustee
10 Columbus Blvd., 6th Floor
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